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 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10                                SOUTHERN DIVISION
11     EAR CHARMS, INC.,                      ) No. SACV16-02091 CJC (PLAx)
                                              )
12                       Plaintiff,           )
                                              )
13                                            )
                                              ) ORDER SETTING SETTLEMENT
                         v.                   ) CONFERENCE
14                                            )
                                              )
15                                            )
                                              )
16     BLING JEWELRY, INC., et al.,           )
                                              )
17                       Defendants.          )
                                              )
18                                            )
19
20           A Settlement Conference will be held before the Court in Courtroom 6B
21     of the Ronald Reagan Federal Building and United States Courthouse, 411
22     West Fourth Street, Santa Ana, California, on February 14, 2019, at 11:00
23     a.m. The Court believes that consideration of settlement is a serious matter
24     that requires thorough preparation before the settlement conference. Set forth
25     below are the procedures the Court will require the parties to follow and the
26     procedures the Court will typically employ in conducting the conference:
27           1.    Attendance of Parties Required. Parties with full and complete
28     settlement authority are required to personally attend the conference, together
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 1     with trial counsel for each party. A corporate party shall send a representative
 2     with full and complete authority to make settlement decisions. Defendant’s
 3     representative must have final settlement authority to commit Defendant to
 4     pay, in the representative’s sole discretion, a settlement amount recommended
 5     by the settlement judge up to Plaintiff’s prayer (excluding punitive damage
 6     prayers), or up to Plaintiff’s last demand made prior to the settlement
 7     conference, whichever is lower. If the settlement decision will be made in
 8     whole or in party by an insurer, the insurer shall send a representative with full
 9     and complete authority to make settlement decisions. Failure to produce the
10     appropriate person(s) at the conference and/or failure to participate in good
11     faith may result in an award of costs and attorney’s fees incurred by the other
12     parties in connection with the conference and/or other sanctions against the
13     noncomplying party and/or counsel.1
14           2.    Pre-Conference Settlement Offers. In order to provide the parties
15     with a starting point for their settlement discussions with the Magistrate Judge,
16     Plaintiff shall advise Defendant of the terms upon which Plaintiff then is
17     prepared to settle the case, in a letter delivered or emailed no later than three
18     (3) court days prior to the Settlement Conference. Within twenty-four (24)
19     hours of receipt of Plaintiff’s settlement offer, Defendant shall respond to the
20     same by letter advising Plaintiff of the terms upon which such Defendant is
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22           1
               When a person whose personal attendance would otherwise be
23     required pursuant to the foregoing paragraphs resides outside Orange County,
       the Court will consider excusing the personal attendance of such person, so
24
       long as such person can and will be available by telephone during the entire
25     settlement conference. If a party desires to avail itself of this excuse from
26     personal attendance, counsel should so request in such party’s Settlement
       Conference Statement. After the party’s Settlement Conference Statement is
27     submitted, counsel should contact the Court’s courtroom deputy clerk to
28     ascertain whether the request has been granted.
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 1     prepared to settle the case. The Court expects the parties to exchange good
 2     faith settlement offers.
 3           3.     Settlement Conference Statement. By February 13, 2019, at
 4     4:00 pm, each party shall submit a Settlement Conference Statement to the
 5     Magistrate Judge. The parties shall exchange the Statements on the same date.
 6     These Statements shall not become a part of the file of the case, but shall be for
 7     the use of the Magistrate Judge in preparing for and conducting the settlement
 8     conference. Settlement Conference Statements should be delivered to the
 9     Court by email to dfm_chambers@cacd.uscourts.gov or directly to chambers
10     on the Sixth Floor of the Santa Ana Courthouse. The Statements may be in
11     letter format and shall not exceed ten (10) pages in length. The parties’
12     respective Statements should address:
13                  A.    A brief statement of the facts of the case, and of the claims
14           and defenses remaining to be tried, including the statutory or other
15           grounds upon which the claims are founded. This statement should
16           identify the major factual and legal issues in dispute, and cite any
17           controlling authorities.
18                  B.    An itemized statement of the damages claimed, and of any
19           other relief sought.
20                  C.    A summary of the proceedings to date, including any case
21           management dates/deadlines already set by the District Judge.
22                  D.    A history of past settlement discussions, offers and demands,
23           including the most recent settlement offers exchanged pursuant to ¶ 2
24           above. A copy of such party’s letter sent pursuant to ¶ 2 above should be
25           attached to such party’s Settlement Conference Statement.
26           4.     Confidential Addendum. Each party shall also prepare a
27     Confidential Addendum to Settlement Conference Statement, which shall be
28     delivered (or emailed) directly to the Magistrate Judge only, simultaneously
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 1     with the Settlement Conference Statement. The Confidential Addendum shall
 2     not be filed with the Court or served upon the other parties. The Confidential
 3     Addendum shall contain:
 4                   A.    A forthright evaluation of the party’s likelihood of prevailing
 5           on each of its claims and/or defenses.
 6                   B.    The approximate amount of attorney’s fees, time and costs
 7           expended to date, and an estimate of the fees, time and costs to be
 8           expended for (i) further discovery, (ii) pretrial and (iii) trial.
 9                   C.    The party’s evaluation of the terms on which the other side
10           is prepared to settle the case.
11                   D.    The party’s evaluation of the terms on which the case could
12           be settled fairly, taking into account the litigation position and settlement
13           position of the other side.
14           5.      Format. The Court will generally use a mediation format, that is,
15     a joint session with opening remarks by the Court, followed by private
16     caucuses.
17           6.      Conference Preparation. The Court may, in its discretion, contact
18     the parties after review of the Statements and Confidential Addenda to arrange
19     a pre-settlement conference telephone call with counsel. The Court may ask
20     the parties to submit addenda to their statements during this telephone
21     conference.
22
23     Dated: February 7, 2019
24                                                   ______________________________
                                                     DOUGLAS F. McCORMICK
25
                                                     United States Magistrate Judge
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